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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA             )
                                     )
      v.                             )                CASE NO. 1:21-cr-00028-7-APM
                                     )
LAURA STEELE                         )
____________________________________ )



                               NOTICE OF JOINING MOTIONS

Defendant, Laura Steele, is charged in counts 1, 2, 3, and 4 of the pending Indictment in this matter.

By and through undersigned counsel, Ms Steele provides notice to the Court and parties that she

joins and adopts the her co-defendants’ motions to dismiss and change venue. Specifically, she

joins motions filed at PACER docket entries 273, 278, and 288.




                                               Respectfully Submitted,

                                               /s/ Peter A. Cooper
                                               Peter A. Cooper, (#478-082)
                                               400 Fifth Street, NW.
                                               Suite 350
                                               Washington DC 20001
                                               pcooper@petercooperlaw.com
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                              CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a copy of the foregoing Notice of Joining Motions is being
filed via the Electronic Court Filing System (ECF), causing a copy to be served upon
government counsel of record, this 23rd day of July, 2021.


                                          /s/ Peter A. Cooper
                                          Peter A. Cooper
